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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION

 WOODCREST ENTERPRISES, INC.,                    §
                                                 §
         Plaintiff,                              §
                                                 §
 vs.                                             §                CASE NO. 4:17-cv-00582
                                                 §
 LIBERTY MUTUAL INSURANCE                        §
 COMPANY and LIBERTY MUTUAL                      §
 FIRE INSURANCE COMPANY,                         §
                                                 §
         Defendants.                             §

                      AGREED MOTION TO DISMISS WITH PREJUDICE

       COME NOW Plaintiff Woodcrest Enterprises, Inc. (“Plaintiff”) and Defendants Liberty

Mutual Insurance Company and Liberty Mutual Fire Insurance Company (“Defendants”;

collectively, Plaintiff and Defendants are referred to herein as the “Parties”) and respectfully files

this, their Agreed Motion to Dismiss with Prejudice (the “Motion”) pursuant to Federal Rule of

Civil Procedure 41(a) (ii), and in support thereof show the Court as follows:


                                    I.      INTRODUCTION


       1.1     Plaintiff commenced the above-numbered and styled cause (the “Lawsuit”) against

Defendants on or about July 6, 2017.


       1.2     On or about August 18, 2017, Defendants appeared through its counsel and filed

Defendant Liberty Mutual Insurance Company’s Plea in Abatement and Original Answer. To date,

Defendants have filed neither any counterclaims nor any case dispositive motions.


       1.3     This Lawsuit has been resolved by the Parties and, as a result, the Parties no longer

wish to pursue the litigation. Both Parties respectfully request that this Lawsuit, in addition to all

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claims, and causes of action that have either been asserted or could have been asserted therein be

dismissed with prejudice to the refiling of same.


       1.4     The Parties further move that all costs in this Lawsuit incurred by Plaintiff and

Defendants be assessed against the party incurring the same and each of the Plaintiff and

Defendants are to bear their own attorney’s fees and costs.


       1.5     Pursuant to FED. R. CIV. P. 41(A)(ii), this Motion shall effectively dismiss this

Lawsuit in its entirety upon the filing hereof.


                                             PRAYER


       WHEREFORE, PREMISES CONSIDERED, the Parties pray for the entry of the Order of

Dismissal filed concurrently with this Motion dismissing all said claims, and causes of action that

have either been asserted or could have been asserted herein with prejudice to the right of refiling,

with costs assessed to the party incurring same.


                                                      Respectfully submitted,

AGREED:

_/s/ Frank Hill________________________               __/s/ Michael Diksa______________
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